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Plaintiff [_] VS. Civil/Criminal No. 21-CK-90899
Defendant [AT La -
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Plaintiff [_] VS. Civil/Criminal No. Zl - CR ©7394
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